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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ALABAM4; cr= 23
md

SOUTHERN DIVISION : PH Is 1g
UNITED STATES OF AMERICA, ex rel NEL EP a arg
KATHY FENDER,
Plaintiffs,
vs. CIVIL ACTION NO. 98-G-0899-S
TENET HEALTHCARE CORPORATION,
TENET HEALTH SYSTEMS, INC. Ne
BROOKWOOD MEDICAL CENTER, ENTERED
BROOKWOOD HEALTH SERVICES, INC.,
and ALABAMA MEDICAL GROUP, ‘FEB 2 3 200l
Defendants.
MOTION TO DISMISS

Pursuant to Federal Rule of Civil Procedure 41(a)(1), and the attached Court’s
Order of July 6, 2000, Plaintiff/fRelator Kathy Fender, by and through her attorney, hereby
moves the Court to dismiss this case without prejudice, in accord with the terms of the July
6, 2000 Order. Defendants have not served an answer or motion for summary judgment.

Therefore, the case is appropriate for dismissal by PlaintifffRelator under Rule 41(a)(1).

CERTIFICATE OF SERVICE
| HEREBY CERTIFY that a copy of the foregoing Motion to Dismiss has been
furnished to JAMES G. GANN, Ill, ESQ., U.S. Attorney’s Office, Robert S. Vance Federal
Building, Suite 200, 1800 Fifth Avenue North, Birmingham, AL 32503-3112, by U.S. Mail;
LAURIE OBEREMBT, Trial Attorney, Civil Division, U.S. Department of Justice, 601 “D”
Street, Room 6531, Washington, D.C. 20044 and JAMES H. MCFERRIN, ESQ., McFerrin

& Associates, 1920 Huntington Road, Birmingham, AL 35209, by U.S. Mail on this
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a | st day of February, 2001.

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Echsner, Proctor & Papantonio, P.A.
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ATTORNEYS FOR RELATOR
